Case 2:21-cr-00038-JDL Document 23 Filed 06/24/21 Page 1 of 9                        PageID #: 38




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

UNITED STATES OF AMERICA                      )
                                              )
               V.                             )       Crim. No. 2:21-cr-00038-JDL
                                              )
NICHOLAS MITCHELL                             )

                        AGREEMENT TO PLEAD GUILTY
            (WITH STIPULATIONS, APPEAL WAIVER, CARES ACT WAIVER,
                         AND VERSION OF THE OFFENSE)

       The United States of America, by and through Donald E. Clark, Acting United States

Attorney for the District of Maine, and Daniel J. Perry, Assistant United States Attorney, and

Nicholas Mitchell (hereinafter "Defendant"), acting for himself and through his counsel, David

Beneman, Esquire, enter into the following Agreement based upon the promises and

understandings set forth below.

       1.      Guilty Plea/Dismissal of Counts. Defendant agrees to plead guilty to Count Two

of the Indictment pursuant to Rule 11 of the Federal Rules of Criminal Procedure (Fed. R. Crim.

P.), at the earliest opportunity requested by the United States and provided by the Court. Count

Two charges Defendant with Tampering With a Consumer Product, in violation of 18 U.S.C.

§1365(a). In addition to pleading guilty, Defendant agrees not to contest the version of the

offense set forth in Attachment A to this Agreement, to otherwise comply with all the terms of

this Agreement, and to be sentenced on the charge(s) to which he has agreed to plead guilty.

Further, given the lapse of time since the date of his commission of the offense(s) to which he is

pleading guilty, and the resulting impact of the Coronavirus Disease 2019 (COVID-19)

pandemic on the United States' ability to prepare the case for trial, Defendant agrees that the

United States would be substantially prejudiced by the withdrawal of his guilty plea.
Case 2:21-cr-00038-JDL Document 23 Filed 06/24/21 Page 2 of 9   PageID #: 39
Case 2:21-cr-00038-JDL Document 23 Filed 06/24/21 Page 3 of 9   PageID #: 40
Case 2:21-cr-00038-JDL Document 23 Filed 06/24/21 Page 4 of 9   PageID #: 41
Case 2:21-cr-00038-JDL Document 23 Filed 06/24/21 Page 5 of 9   PageID #: 42
Case 2:21-cr-00038-JDL Document 23 Filed 06/24/21 Page 6 of 9   PageID #: 43
Case 2:21-cr-00038-JDL Document 23 Filed 06/24/21 Page 7 of 9   PageID #: 44
Case 2:21-cr-00038-JDL Document 23 Filed 06/24/21 Page 8 of 9   PageID #: 45
Case 2:21-cr-00038-JDL Document 23 Filed 06/24/21 Page 9 of 9   PageID #: 46
